                              Case 1:19-cv-05727-AT Document 1-13 Filed 12/20/19 Page 1 of 3
JS44 (Rev.  NDGA)                            CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         Federal Trade Commission                                                                FleetCor Technologies, Inc.
                                                                                                 Ronald Clarke




    (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                    COUNTY OF RESIDENCE OF FIRST LISTED
        PLAINTIFF                                                                              DEFENDANT          Fulton
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

    (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                     ATTORNEYS                  (IF KNOWN)
                                   E-MAIL ADDRESS)

         Michael A. Boutros, Federal Trade Commission                                            FleetCor: William Blumenthal, Sidley Austin LLP
         225 Peachtree Street NE, Suite 1500                                                     1501 K Street NW
         Atlanta, GA 30303                                                                       Washington, DC 20005
         Phone: (404) 656-1351                                                                   Phone: (202) 736-8030
         Email: mboutros@ftc.gov                                                                 Email: wblumenthal@sidley.com (see attachment)

II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

✔   1 U.S. GOVERNMENT            3 FEDERAL QUESTION                             1        1 CITIZEN OF THIS STATE               4       4    INCORPORATED OR PRINCIPAL
      PLAINTIFF                    (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE

    2 U.S. GOVERNMENT            4 DIVERSITY                                    2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
      DEFENDANT                    (INDICATE CITIZENSHIP OF PARTIES                                                                         PLACE OF BUSINESS IN ANOTHER STATE
                                    IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN             (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
    ✔ 1 ORIGINAL           2 REMOVED FROM           3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
        PROCEEDING           STATE COURT             APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

      Deceptive and unfair acts and practices in violation of the Federal Trade Commission Act, 15 U.S.C. §§ 41-58.




(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                        6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                  8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                         MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
             Case 1:19-cv-05727-AT Document 1-13 Filed 12/20/19 Page 2 of 3
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK            CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                 SOCIAL SECURITY - "0" MONTHS DISCOVERY
       150 RECOVERY OF OVERPAYMENT &                   440 OTHER CIVIL RIGHTS                              TRACK
            ENFORCEMENT OF JUDGMENT                    441 VOTING                                                 861 HIA (1395ff)
       152 RECOVERY OF DEFAULTED STUDENT               442 EMPLOYMENT                                             862 BLACK LUNG (923)
           LOANS (Excl. Veterans)                      443 HOUSING/ ACCOMMODATIONS                                863 DIWC (405(g))
       153 RECOVERY OF OVERPAYMENT OF                  445 AMERICANS with DISABILITIES - Employment              863 DIWW (405(g))
           VETERAN'S BENEFITS                          446 AMERICANS with DISABILITIES - Other                    864 SSID TITLE XVI
                                                       448 EDUCATION                                              865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
       110 INSURANCE                                                                                       FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
       120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                  TRACK
       130 MILLER ACT                                  462 NATURALIZATION APPLICATION                             870 TAXES (U.S. Plaintiff or Defendant)
       140 NEGOTIABLE INSTRUMENT                       465 OTHER IMMIGRATION ACTIONS                              871 IRS - THIRD PARTY 26 USC 7609
       151 MEDICARE ACT
       160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY                 OTHER STATUTES - "4" MONTHS DISCOVERY
       190 OTHER CONTRACT                        TRACK                                                     TRACK
       195 CONTRACT PRODUCT LIABILITY                  463 HABEAS CORPUS- Alien Detainee                           375 FALSE CLAIMS ACT
       196 FRANCHISE                                   510 MOTIONS TO VACATE SENTENCE                              376 Qui Tam 31 USC 3729(a)
                                                       530 HABEAS CORPUS                                           400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                   535 HABEAS CORPUS DEATH PENALTY                             430 BANKS AND BANKING
TRACK                                                  540 MANDAMUS & OTHER                                        450 COMMERCE/ICC RATES/ETC.
       210 LAND CONDEMNATION                           550 CIVIL RIGHTS - Filed Pro se                             460 DEPORTATION
       220 FORECLOSURE                                 555 PRISON CONDITION(S) - Filed Pro se                      470 RACKETEER INFLUENCED AND CORRUPT
       230 RENT LEASE & EJECTMENT                      560 CIVIL DETAINEE: CONDITIONS OF                                ORGANIZATIONS
       240 TORTS TO LAND                                   CONFINEMENT                                             480 CONSUMER CREDIT
       245 TORT PRODUCT LIABILITY                                                                                  490 CABLE/SATELLITE TV
       290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                    ✔    890 OTHER STATUTORY ACTIONS
                                                 TRACK                                                             891 AGRICULTURAL ACTS
TORTS - PERSONAL INJURY - "4" MONTHS                   550 CIVIL RIGHTS - Filed by Counsel                         893 ENVIRONMENTAL MATTERS
DISCOVERY TRACK                                        555 PRISON CONDITION(S) - Filed by Counsel                  895 FREEDOM OF INFORMATION ACT
       310 AIRPLANE                                                                                                899 ADMINISTRATIVE PROCEDURES ACT /
       315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                              REVIEW OR APPEAL OF AGENCY DECISION
       320 ASSAULT, LIBEL & SLANDER              TRACK                                                            950 CONSTITUTIONALITY OF STATE STATUTES
       330 FEDERAL EMPLOYERS' LIABILITY                625 DRUG RELATED SEIZURE OF PROPERTY
       340 MARINE                                           21 USC 881                                     OTHER STATUTES - "8" MONTHS DISCOVERY
       345 MARINE PRODUCT LIABILITY                    690 OTHER                                           TRACK
       350 MOTOR VEHICLE                                                                                          410 ANTITRUST
       355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK                               850 SECURITIES / COMMODITIES / EXCHANGE
       360 OTHER PERSONAL INJURY                       710 FAIR LABOR STANDARDS ACT
       362 PERSONAL INJURY - MEDICAL                   720 LABOR/MGMT. RELATIONS                           OTHER STATUTES - “0" MONTHS DISCOVERY
           MALPRACTICE                                 740 RAILWAY LABOR ACT                               TRACK
       365 PERSONAL INJURY - PRODUCT LIABILITY         751 FAMILY and MEDICAL LEAVE ACT                           896 ARBITRATION
       367 PERSONAL INJURY - HEALTH CARE/              790 OTHER LABOR LITIGATION                                     (Confirm / Vacate / Order / Modify)
            PHARMACEUTICAL PRODUCT LIABILITY           791 EMPL. RET. INC. SECURITY ACT
       368 ASBESTOS PERSONAL INJURY PRODUCT
            LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY

TORTS - PERSONAL PROPERTY - "4" MONTHS
                                                 TRACK
                                                       820 COPYRIGHTS
                                                                                                           * PLEASE NOTE DISCOVERY
DISCOVERY TRACK                                        840 TRADEMARK                                         TRACK FOR EACH CASE TYPE.
       370 OTHER FRAUD                                                                                       SEE LOCAL RULE 26.3
       371 TRUTH IN LENDING                      PROPERTY RIGHTS - "8" MONTHS DISCOVERY
       380 OTHER PERSONAL PROPERTY DAMAGE        TRACK
       385 PROPERTY DAMAGE PRODUCT LIABILITY            830 PATENT
                                                        83 PATENT$%%5(9,$7('1(:'58*
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                      $33/,&$7,216 $1'$ DND
       422 APPEAL 28 USC 158                                 +DWFK:D[PDQFDVHV
       423 WITHDRAWAL 28 USC 157




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23           DEMAND $_____________________________
JURY DEMAND          YES    ✔   NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
       JUDGE_______________________________                           DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES:                       (CHECK APPROPRIATE BOX)
       1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
          BANKRUPTCY JUDGE.
       5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




       7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                            , WHICH WAS
          DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




  /s/ Michael A. Boutros                                                                            12/20/2019
 SIGNATURE OF ATTORNEY OF RECORD                                                                DATE
       Case 1:19-cv-05727-AT Document 1-13 Filed 12/20/19 Page 3 of 3




                        Attachment to Civil Cover Sheet

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